             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:09-cr-00013-MR-9


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                  ORDER
                                )
YVONNE MARIE FOUNTAIN,          )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s “Motion to

Request a Court Order” [Doc. 880] and the Defendant’s “Motion to Unseal

Arrest Warrant” [Doc. 892].

     In her first motion, the Defendant requests that the Court order the

production of the transcript of her Rule 11 hearing.     [Doc. 880].     The

Defendant does not seek to obtain this transcript at the Government’s

expense. [Id.]. The Defendant is advised that the transcript has been

prepared and is already part of the record. [See Doc. 765]. Further, the

Clerk’s Office has already contacted the Defendant and advised her how she

can obtain a copy of this transcript. [See Doc. 885]. Accordingly, the

Defendant’s motion [Doc. 880] is moot.




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     In her second motion, the Defendant moves the Court to unseal the

arrest warrant and search warrant issued in this case and produce copies of

these documents to her. A review of the docket sheet indicates that these

documents are not in fact sealed and thus no order from the Court is

required. If the Defendant wishes to obtain copies of these documents, she

can request them directly from the Clerk’s Office. Accordingly, this motion

too is moot.

     IT IS, THEREFORE, ORDERED that the Defendant’s “Motion to

Request a Court Order” [Doc. 880] and the Defendant’s “Motion to Unseal

Arrest Warrant” [Doc. 892] are both DENIED AS MOOT.

     IT IS SO ORDERED.
                                Signed: October 3, 2017




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